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                                                                UNITED STATES DISTRICT COURT
                                                                FOR THE DISTRICT OF COLUMBIA

PAUL J. MANAFORT, Jr.
10 St. James Drive
Palm Beach Gardens, Florida 33418

                                                       Plaintiff,
                    v.

U.S. DEPARTMENT OF JUSTICE,                                                                                                                   Civil Action Number:
950 Pennsylvania Avenue, N.W.                                                                                                                        18-cv-11
Washington, D.C. 20004

                 and                                                                                                           Before Judge Amy Berman Jackson

ROD J. ROSENSTEIN,                                                                                                 FREEDOM WATCH INC’S MOTION TO
in his official capacity as                                                                                                 INTERVENE
ACTING ATTORNEY GENERAL,1
United States Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20004

                 and

ROBERT S. MUELLER III,
in his official capacity as
SPECIAL COUNSEL
Office of Special Counsel
395 E Street, S.W.
Washington, D.C. 20024
        and
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20004

                                                   Defendants.

FREEDOM WATCH, Inc.
2020 Pennsylvania Avenue, N.W. Suite 345
Washington, D.C. 20006

                                                 Proposed Intervenor


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  	                                               Presumably the Plaintiff refers to Rod Rosenstein as Acting Attorney General within the
scope of Attorney General Jeff Session's recusal in topics relevant to these matters.	  
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       MOTION AND MEMORANDUM OF LAW IN SUPPORT OF FREEDOM WATCH’S
                         MOTION TO INTERVENE

I.        INTRODUCTION

          Intervenor Freedom Watch, Inc., (“Freedom Watch”) respectfully moves this Court to

grant its intervention in this case pursuant to Federal Rules of Civil Procedure (“FRCP”) Rule 24

(b)(1)(B) on the grounds that Freedom Watch’s lawsuit shares common issues of fact with this

instant action. Both Freedom Watch’s action and this instant action seek to have Special Counsel

Robert Mueller (“Mr. Mueller”) removed on the grounds that he has acted improperly and

exceeded and violated his authority as Special Counsel.

II.       GOVERNING LAW

          Federal Rules of Civil Procedure (FRCP) Rule 24 governs intervention by additional

parties in existing litigation in the federal courts:

          Rule 24. Intervention:

          (b) PERMISSIVE INTERVENTION.
          (1) In General. On timely motion, the court may permit anyone to intervene who:
          (A) is given a conditional right to intervene by a federal statute; or
          (B) has a claim or defense that shares with the main action a common question of
          law or fact.

III.      STATEMENT OF RELEVANT FACTS

          Freedom Watch filed an action under 28 U.S.C. §1361 seeking a writ of mandamus

ordering that the U.S. Department of Justice and Federal Bureau of Investigation investigate the

torrent of alleged illegal leaks involving the grand jury proceedings for Mr. Mueller’s

investigation into Russian collusion in the 2016 Presidential election as well as the conflicts of

interest of Mr. Mueller and his staff, and mete out appropriate discipline, including but not




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limited to the removal of Mr. Mueller and his staff. 2 Freedom Watch’s action is currently

pending in the U.S. Court of Appeals for the District of Columbia Circuit.

                 Similarly, the Plaintiff here, Mr. Paul Manafort (“Mr. Manafort”), seeks a declaratory

judgment that Mr. Mueller’s prosecution of the Mr. Mueller is unlawful and ultra vires because

the regulations of the U.S. Department of Justice (“DOJ”) governing the authority and activities

of a special prosecutor do not convey authority to prosecute so far outside the scope of, and

irrelevant to, the matters that the special prosecutor was appointed to investigate. Mr. Mueller

was appointed as Special Counsel on May 17, 2017, by Deputy Attorney General Rod

Rosenstein for the sole purpose of investigating “any links and/or coordination between the

Russian government and individuals associated with the campaign of President Donald

Trump….” 3 However, Mr. Mueller has gone far beyond the scope of his appointment,

investigating and prosecuting Mr. Manafort for alleged crimes that occurred well before the 2016

Presidential election and before any association with President Trump. As such, the ultimate

relief sought by Mr. Manafort is also the removal of Mr. Mueller as Special Counsel.

                 Lastly Freedom Watch’s matter was before the Honorable Amy Berman Jackson (“Judge

Jackson”) before it was sent up on appeal. Mr. Manafort’s matter has now been transferred to

Judge Jackson as well. Therefore, Judge Jackson already has familiarity with both cases.

IV.              ARGUMENT

                 A.   Intervenor Shares Common Questions of Law or Fact with Main Action

                 Pursuant to FRCP Rule 24(b)(1)(B):

                 (b) PERMISSIVE INTERVENTION.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2
           Freedom Watch, Inc. v. Sessions, et al, 17-cv-2459 (DDC).
3
           Rod Rosenstein, Appointment of Special Counsel To Investigate Russian Interference With The
2016 Presidential Election And Related Matters, May 17, 2017, available at:
https://www.justice.gov/opa/press-release/file/967231/download.

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        (1) In General. On timely motion, the court may permit anyone to intervene who:
                                 ***
        (B) has a claim or defense that shares with the main action a common question of
        law or fact.

        Mr. Manafort and Freedom Watch both ultimately seek the removal of Mr. Mueller and

his staff as Special Counsel on the grounds that they have they have acted improperly and

illegally. Specially Mr. Manafort seeks removal on the grounds that Mr. Mueller’s investigation

and prosecution has far exceeded the scope of his appointment, and Freedom Watch seeks

removal on the grounds that Mr. Mueller and his staff have intentionally leaked confidential

information regarding his grand jury proceedings and have inherent and irreparable conflicts of

interest.

        B.   “Stage of the Proceeding”

        Pursuant to FRCP Rule 24(b)(3), the Plaintiff’s case, the instant case at bar, was just filed

on January 3, 2018. Therefore, the case is just at its beginning. Presumably, the Defendants

herein have not yet been served. No answer or responsive pleading has yet been filed. No action

or decision has yet been entered in the case.

        C.   The “Reason for and Length” of any Delay

        Pursuant to FRCP Rule 24(b)(3), no delay is present, as explained in the foregoing

subsection (B), supra.

V.      CONCLUSION

        Based on the foregoing, Freedom Watch respectfully requests that this Court grant

Freeodom Watch leave to intervene in Mr. Manafort’s action, on the grounds that both actions

share clear commonality of fact and law. Even more, both cases are at the pinnacle of national

importance, as they both raise implications as to the integrity and fairness of the judicial process,

and are thus in the public interest. Freedom Watch is a 501(c)(3) public interest foundation and



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government ethics watchdog.

       Indeed, it is telling that Mr. Mueller is being defended in Mr. Manafort’s action by U.S.

Department of Justice (“DOJ”) attorneys, notably from the Federal Programs Branch, all at

taxpayer expense. This creates the appearance that Attorney General Jeff Sessions and Deputy

Attorney General Rod Rosenstein have been disingenuous, given the fact that they should have,

sua sponte, pursuant to their legal, professional, and ethical duties, investigated the claims

against Mr. Mueller and his staff, as well as revoke Mr. Mueller’s authority to prosecute Mr.

Manafort. Instead, however, they have chosen to defend Mr. Mueller without any legal or factual

basis to do so. The Federal Programs Branch of the DOJ does not consent, and Plaintiff’s

counsel, who have been contacted email and by telephone three times (four times combined),

have not as of yet responded to Freedom Watch.

       WHEREFORE, Freedom Watch respectfully requests that its intervention by granted

forthwith.

Dated: January 23, 2018

                                            RESPECTFULLY SUBMITTED,
                                            FREEDOM WATCH, INC., By Counsel

                                               /s/ Larry Klayman
                                            Larry Klayman, Esq.
                                            Washington, D.C. Bar No. 334581
                                            Freedom Watch, Inc.
                                            2020 Pennsylvania Avenue N.W. , Suite 345
                                            Washington, D.C. 20006
                                            (310) 595-0800
                                            Email: leklayman@gmail.com




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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 23rd day of January, 2018, a true copy of the foregoing
Proposed Intervenor’s Memorandum of Law in Support of Intervenor Freedom Watch, Inc.'s
Motion to Intervene have been served via the Court's ECF system to all counsel of record.

                                            /s/ Larry Klayman
                                         Larry Klayman, Esq.




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